                              No. 23-3166


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE THIRD CIRCUIT
                   _________________________

  PENNSYLVANIA STATE CONFERENCE OF THE NAACP, et al.,
                               Plaintiffs-Appellees,
                         v.

           SECRETARY OF THE COMMONWEALTH, et al.,
                                  Defendants-Appellees,

           REPUBLICAN NATIONAL COMMITTEE, et al.,
                                  Intervenors-Appellants,
           DEMOCRATIC NATIONAL COMMITTEE, et al.,
                                       Intervenors-Appellees.
                  _________________________

Appeal from the United States District Court for the Western District of
Pennsylvania, Case No. 1:22-cv-00339 (Hon. Susan Paradise Baxter)
                     _________________________

       PLAINTIFFS-APPELLEES’ BRIEF IN OPPOSITION
                  _________________________

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                            INTRODUCTION

     In November 2022, thousands of Pennsylvania voters were denied

the right to vote based on a meaningless paperwork error. They filled out

their mail ballots during the proper period, signed the form on the outer

return envelope, and returned them by 8 p.m. on Election Day. Yet their

ballots were not counted only because they omitted a handwritten date

on the outer return envelope or wrote some date deemed “incorrect.” The

handwritten date undisputedly is not used to determine the timely

receipt of a ballot, or a voter’s qualifications or identity, or to prevent

fraud. It is utterly irrelevant.

     Discarding votes based on such immaterial paperwork errors

violates federal law, which prohibits refusing to count a person’s vote

based on an “error or omission” on a voting-related “record or paper” that

is “not material in determining” a person’s qualifications to vote. 52

U.S.C. § 10101(a)(2)(B). The disenfranchisement challenged here, for

failure to handwrite a date that has no substantive meaning or relevance,

is a clear violation. A unanimous panel of this Court so held less than

two years ago. See Migliori v. Cohen, 36 F.4th 153 (3d Cir. 2022), vacated

as moot, 143 S. Ct. 297 (Mem.) (2022).


                                    1
     The district court correctly applied the statute’s plain text to a

comprehensive and undisputed record from the 2022 election.             That

record showed that the content of the handwritten date is meaningless,

and that the envelope-date requirement was arbitrarily enforced.

Counties disenfranchised voters for dates that were “right” (for example,

where a voter wrote “October 8” but omitted the year) or for obvious

misprints (like “2202” instead of “2022,” or a birthdate from 80 years ago),

even though they conceded the ballots were timely cast. Meanwhile,

some counties counted ballots where the handwritten date was “wrong,”

for example where it occurred before mail ballots had been sent to voters,

or where a voter wrote “September 31”—a non-existent date.

      GOP-Intervenors’ merits arguments, most of which the Migliori

panel rejected, are inconsistent with plain text. The statute is not limited

to voter registration; it bars disenfranchisement for immaterial errors on

“any record or paper relating to any application, registration, or other act

requisite to voting,” 52 U.S.C. § 10101(a)(2)(B) (emphasis added).          It

expressly protects a voter’s right to “cast[] a ballot, and hav[e] such ballot

counted.” 52 U.S.C. § 10101(a)(3)(A), (e). Those terms cover all manner

of irrelevant errors on voting-related paperwork, including here, where


                                      2
voters’ ballots were not counted due to an immaterial mistake on a

“paper” (the outer-mail-ballot-envelope form) whose completion was

made “requisite to voting.” Nor would adhering to plain text threaten

various unrelated election rules or portend major changes to election

administration.    Virtually every practice GOP-Intervenors cite falls

outside the statute’s clearly defined scope.        But disenfranchising

thousands for a meaningless paperwork error falls within it.

     GOP-Intervenors’ side arguments lack merit, too. Both Migliori

and a Fifth Circuit panel just last month held that this statutory

guarantee of federal rights is enforceable via Section 1983 as a matter of

text, context, and history. GOP-Intervenors’ arguments about the 2023

municipal election are moot because that the election is over. And their

invocation of Bush v. Gore fails because the district court’s declaration of

federal law protects voters from arbitrary treatment. Most counties are

already bound to follow that declaration, all counties can and should do

so, and in any event this Court’s merits ruling will require uniformity.

     It is time to end the illegal disenfranchisement of Pennsylvania

voters based on an irrelevant paperwork mistake. “[T]he right to vote is

‘made of sterner stuff’ than that.” Migliori, 36 F.4th at 163.


                                     3
                                BACKGROUND

        A.    Pennsylvania Expands Mail Ballot Voting

        Pennsylvania has long provided absentee-ballot options for certain

voters. See 25 P.S. §§ 3146.1-3146.9. In 2019, Pennsylvania expanded

mail voting significantly, allowing all registered, eligible voters to vote

by mail.      App.56. 1   In the 2022 general election, over 1.2 million

Pennsylvanians voted by mail. App.60.

        A voter seeking to vote by mail must complete an application to

enable their county board of elections to verify their identity and

qualifications. App.56. They must provide their name, address, and

proof    of   identification,   25   P.S.   §§ 3146.2,   3150.12,   namely,   a

Pennsylvania driver’s license number, the last four digits of their social

security number, or, absent those, a form of photo identification. 25 P.S.

§ 2602(z.5)(3); Supp.App.752-755.

        County boards of elections “ascertain” applicants’ qualifications by

verifying proof of identification and comparing the information in the




1 Citations to “App.” refer to the appendix submitted with Appellants’

brief. Citations to “Supp.App.” refer to the supplemental appendix
submitted with this brief. Citations to “ECF No.” refer to the district
court’s docket.
                                        4
application with the voter’s registration record.      25 P.S. §§ 3146.2b,

3150.12b, 3146.8(g)(4). See also Supp.App.755-757. The boards verify

that voters are qualified to vote—namely, that they are 18 years old, have

been a U.S. citizen for one month, have resided in the election district for

30 days, and are not incarcerated on a felony conviction. App.56; see also

25 Pa. C.S.A. § 1301(a); Supp.App.637-638.              A county board’s

determinations as to voter qualifications are conclusive absent successful

pre-election challenge. 25 P.S. §§ 3146.2b, 3150.12b, 3146.8(g)(4).

     After verifying a voter’s identity and eligibility, the county board

sends them a package with a ballot, a “secrecy envelope,” and a pre-

addressed outer return envelope, on which is printed a voter declaration

form. 25 P.S. §§ 3146.6(a), 3150.16(a). Counties record who requested

and returned a mail ballot. 25 P.S. §§ 3146.6(b)(1), (3), 3150.16(b)(1), (3).

Different counties send out packages at different times. App.82. In 2022,

some counties sent the mail-ballot package in mid-September; most sent

them in October, as late as October 21. Supp.App.150-157.2



2 All cited references to Plaintiffs’ L.R.56(B)(1) Statement (Supp.App.126-

220) were admitted by opposing defendants in their respective responses,
included at Supp.App.221-317 (Lancaster County); Supp.App.319-424
(GOP-Intervenors); Supp.App.425-511 (Berks County).

                                     5
     At “any time after receiving” it, the voter marks their ballot, puts it

inside the secrecy envelope, and places the secrecy envelope in the return

envelope. 25 P.S. §§ 3146.6(a), 3150.16(a). The voter then delivers the

ballot, in the requisite envelopes, to their county elections board. Id. To

be timely, the board must receive ballots by 8 p.m. on Election Day.

App.58, App.80; 25 P.S. §§ 3146.6(c), 3150.16(c). See also Supp.App.129.

     Upon receipt, every county board stamps or marks the return

envelope as received to confirm timeliness, and enters this information

into Pennsylvania’s Statewide Uniform Registry of Electors (“SURE”)

system. App.58, 80; Supp.App.129. Timeliness is determined by when

the board receives the ballot, not based on any handwritten date. App.80

(citing 25 P.S. §§ 3146.6(c), 3150.16(c)). See also Supp.App.129, 189, 653-

655, 660-662, 712-714, 725-726, 835, 838-839.

     B.    Litigation  Ensues           Over      the     Envelope-Date
           Requirement

     This case involves the Election Code’s instruction that a voter

“shall ... fill out, date and sign the declaration printed on [the return]

envelope.” 25 P.S. §§ 3146.6(a), 3150.16(a). Attempts to exclude mail

ballots for failure to comply with the envelope-dating requirement have

generated extensive litigation since 2019 to reconcile a conflict between

                                    6
enforcement of this envelope-dating instruction and the Civil Rights Act’s

Materiality Provision, 52 U.S.C. § 10101(a)(2)(B).

     First, in 2020, the Supreme Court of Pennsylvania concluded that

otherwise-valid mail ballots contained in signed return envelopes

missing the handwritten date would be counted in that year’s November

election. In re Canvass of Absentee and Mail-In Ballots, 241 A.3d 1058,

1062 (Pa. 2020), cert. denied, Trump for President, Inc. v. Degraffenreid,

141 S. Ct. 1451 (Mem.) (2021). While the ruling was based on state law,

a majority of the seven justices suggested that invalidating votes on this

basis “could lead to a violation of federal law by asking the state to deny

the right to vote for immaterial reasons.” Id. at 1074 n.5; id. at 1089 n.54

(Wecht, J., concurring and dissenting).

     In the November 2021 municipal elections, Lehigh County set aside

257 timely-received mail ballots because voters had omitted the

handwritten envelope date. Migliori, 36 F.4th at 157. Voters sued, and

a unanimous panel ordered Lehigh County to count the votes to comply

with the Materiality Provision. See Migliori, 36 F.4th at 162-164; see also

id. 164-66 (Matey, J., concurring). After the Supreme Court denied a stay

application, every ballot was counted. See Ritter v. Migliori, 142 S. Ct.


                                     7
1824 (Mem.) (2022). The election’s certification mooted the controversy

and the Court subsequently vacated Migliori as moot in a non-merits

order. See Ritter v. Migliori, 143 S. Ct. 297 (Mem.) (2022).3

      The issue re-emerged in the 2022 primary. In twin decisions, the

Commonwealth Court held that undated mail ballots must count because

the date “does not relate to the timeliness of the ballot or the qualification

of the elector.”   Chapman v. Berks Cnty. Bd. of Elections, 2022 WL

4100998, at *28 (Pa. Commw. Aug. 19, 2022); McCormick for U.S. Senate

v. Chapman, 2022 WL 2900112, at *9-15 (Pa. Commw. June 2, 2022).

      Following this authority, for the 2022 general election the Secretary

of the Commonwealth advised counties to count valid and timely-received

mail ballots notwithstanding any error or omission regarding the date.

App.59; see also Supp.App.130, 645-646, 707-708, 781-784, 826-828, 887-

891. But on October 16, 2022, immediately after the Migliori mootness

vacatur, and with voting already underway, a group including GOP-

Intervenors here brought a King’s Bench petition in the Supreme Court

of Pennsylvania, seeking an election-eve order excluding mail ballots



3 Migliori remains “persuasive” authority. E.g., Polychrome Int’l Corp. v.

Krigger, 5 F.3d 1522, 1534 (3d Cir. 1993).

                                      8
with no handwritten date or an “incorrect” handwritten date on the

return envelope. App.59; see also Supp.App.130.

     On November 1, 2022, that court, with only six members due to the

chief justice’s sudden death, issued an order directing that such mail

ballots be segregated and not counted.         Without a trial record or

argument, the court ruled based on its interpretation of the Pennsylvania

state statute. But the court was “evenly divided” 3-3 on whether the

Materiality Provision prohibited disenfranchising voters based on the

envelope-date requirement and issued “no order” on that question. Ball

v. Chapman, 289 A.3d 1, 28 (Pa. 2023); Id. at 34-35 (Dougherty, J.,

concurring in part) (“federal law issue” left “unresolved”). See App.59; see

also Supp.App.927-928.

     On November 5, the court issued a supplemental order defining

“incorrectly dated outer envelopes” as mail-ballot envelopes “with dates

that fall outside the date range of September 19, 2022 through November

8, 2022” and absentee-ballot envelopes “with dates that fall outside the

date range of August 30, 2022 through November 8, 2022.” App.60.

Following Ball, the Secretary issued updated guidance directing counties

to set aside mail ballots in envelopes without voter-written dates, or with


                                     9
dates outside the “correct” range. Supp.App.892-896.

       Plaintiffs filed this federal-law action days later.

       C.   Thousands of Pennsylvanians Are Disenfranchised in
            the 2022 General Election

       In the 2022 general election, county boards refused to count at least

10,500 timely-received mail ballots based on missing or purportedly

“incorrect” handwritten dates on the outer return envelope. App.60; see

also    Supp.App.158-170,       639-640,    705-706,     823-824,   840-845;

Sealed.Supp.App.1002-1110 (lists of affected voters). The affected voters

are registered Democrats, Republicans, and Independents, ranging from

ages 18 to 101.        Supp.App.174-180.       They hail from across the

Commonwealth.        Supp.App.158-166.      Five are the individual voter

plaintiffs-appellees in this case, who are workers and retirees in their 60s

and 70s—a welder, an artist, a retired pharmacist—and all long-time

Pennsylvania voters. Supp.App.131-136, 854-871.

       The county elections boards confirmed all these rejected voters’

identities, registrations, and eligibility. App.60-61; Supp.App.127-128,

172-173. These voters filled out their ballots at the proper time, signed

the envelope form, and returned their ballots by 8 p.m. on Election Day.

Supp.App.128-129, 166-170, 189.

                                      10
     The county boards undisputedly did not use the handwritten

envelope date for any purpose related to determining or confirming a

voter’s age, citizenship, county or duration of residence, or incarceration

status. 4 App.60-61; see also Supp.App.180-186, 627-630, 698-701, 704,

779, 790-792, 815-817. Nor did they use it to establish timely ballot

receipt by 8 p.m. on Election Day. App.80; see also Supp.App.186-187,

653-655, 712-714, 725-726, 770-772, 790, 834-839. A voter whose mail

ballot was timely received could only have signed the voter declaration

form in between when their county board sent the mail-ballot packages

and the Election-Day deadline. Supp.App.189, 200, 650-654, 656-657,

662-670, 712-720, 723-724, 797-798, 834-836, 845-846. Ballots received

by county boards after 8 p.m. on Election Day were not counted regardless

of the handwritten envelope date. App.80; see also Supp.App.190.

     None of the county boards identified any fraud concerns regarding

the mail ballots set aside due to a missing or “incorrect” envelope date.5



4 Most counties admitted that they used the envelope date only to comply

with Ball. Supp.App.635-637, 701-703, 818, 821-822.
5 GOP-Intervenors pointed to a single incident from the 2022 primary, in

which one individual forged her deceased mother’s signature on a mail-
ballot envelope form. App.79. But an official from the county where the

                                    11
Supp.App.173-174, 675. And no ballots of voters who died before Election

Day were counted. Supp.App.192-193, 734-735, 819-820, 1195.

     The envelope-date rule was enforced inconsistently and arbitrarily.

Counties refused to count many ballots where voters wrote a correct

envelope date. E.g., Supp.App.207-208, 214-215, 849-850. Many refused

to count ballots where the envelope date was correct but missing one

term, such as “Oct. 25,” App.84; Sealed.Supp.App.1161; see also

Supp.App.198-199, 204, 205-207; Sealed.Supp.App.1146-1164, but others

counted such ballots, App.84; see also Supp.App.199-200, 207. Counties

also took varying approaches to dates that appeared to use the

international format (i.e., day/month/year). Supp.App.209-211, 658-659,

668-671, 716, 721-722, 846-848; Sealed.Supp.App.1118-1123.

     Many counties counted ballots with necessarily “incorrect” envelope

dates—e.g., the handwritten date was before the county sent out the

mail-ballot package, or after the elections board received it back from the

voter—because the date written nevertheless fell within the range in



incident took place admitted that the deceased voter had already been
removed from the voter rolls before her ballot was received and that her
vote would never have been counted regardless of the handwritten
envelope date. Id.; see also Supp.App.729-731.

                                    12
Ball. App.82; Supp.App.212-214, 647-649, 710-712, 830-833, 836. At

least one county counted a ballot marked September 31—a date that does

not exist. App.84; see also Supp.App.901-902. Counties also took

inconsistent approaches to voters who mistakenly wrote their birthdates

on the date line, with most refusing to do so. App.83; Supp.App.195, 674,

845-846, 900; see also Sealed.Supp.App.1184-1194 (birthdate examples).

     Counties refused to count over 1,700 timely-received ballots with

obviously unintentional slips of the pen, such as a voter writing “2021” or

“2033” or “2202” instead of “2022” (Sealed.Supp.App.1177-1178, 1133-

1142),    or   writing     “10/111/2022”     instead      of     “10/11/2022”

(Sealed.Supp.App.1196),     or    just   writing    the        wrong   month

(Sealed.Supp.App.1124-1132, 1165-1170).      See App.83; Supp.App.193-

197, 200-205. Yet county officials agreed it was a “factual impossibility”

for a voter to have signed the mail-ballot envelope a year before the

election, two centuries in the future, or on the day they were born.

App.83; see, e.g., Supp.App.193, 650-652, 671-674, 723-724, 840-846.

     D.    Disenfranchised Voters and Non-Partisan Groups
           Prevail in the District Court

     In the days preceding the November 2022 election, Plaintiffs—

individual voters and nonpartisan organizations dedicated to promoting

                                    13
civic engagement—filed this lawsuit challenging the exclusion of voters’

ballots, naming the county boards and the Secretary of the

Commonwealth as defendants. Supp.App.1-20. Various Republican-

Party-affiliated entities (“GOP-Intervenors”) intervened to defend the

disenfranchisement of Pennsylvania voters. ECF No. 27.

     Plaintiffs successfully sought expedited discovery, although GOP-

Intervenors opposed. Supp.App.80; ECF No. 203, ECF No. 207. Forty

counties executed a stipulation whereby they “agree[d] to not contest . . .

the declaratory and injunctive relief requested by Plaintiffs in this

action.” Supp.App.40-59. In the end, the discovery process, including

written discovery from virtually all 67 counties, yielded a comprehensive

factual record of the approval or rejection of mail ballots based on the

envelope-date requirement in the 2022 election. See Supp.App.126-220,

604-618.

     Plaintiffs sought summary judgment. See Supp.App.94-125. On

November 21, the district court granted the motion. See App.13-89. On

the merits, the court concluded that the envelope date was “wholly

irrelevant.” App.79. It was “irrelevant in determining when the ballot

was received” and that it was not used for “any purpose related to


                                    14
determining a voter’s age, citizenship, county or duration of residence, or

felony    status.”   App.80-81.      The      record   was   “replete”   with

“inconsistencies” in enforcement, highlighting “the irrelevance of any

date written by the voter on the outer envelope.” App.82-83.

     The district court issued a declaration that the rejection of timely-

submitted mail ballots based solely on the envelope-date requirement

“violates the Materiality Provision of the Civil Rights Act.” App.6; see

also App.8-12. This declaration was not limited to any particular county.

     The district court also ordered injunctive relief as to the Secretary

and the three counties where the individual plaintiffs resided. App.6-7.

It also dismissed 55 counties on standing grounds because the individual

voter plaintiffs did not live in those counties, and the organizational

plaintiffs had not established a diversion of resources in response to those

counties’ specific actions. App.5-6, 25-46.

     E.     Marino Loses a 2023 Election for Township Supervisor

     The district court’s decision issued during the vote-counting process

for the November 7, 2023 municipal election, which involved a few




                                    15
statewide contests and many local elections. 6 Several counties that had

not yet certified their local elections opened and counted the votes of mail-

ballot voters who had been disenfranchised based on the envelope-date

issue. Supp.App.955.

      As of November 21, Richard Marino, a Republican, was ahead by

four votes in the race for Township Supervisor in Montgomery County’s

Towamencin Township, but with six mail ballots still unopened due to

the envelope-date issue. App.143-144; Supp.App.941. On November 22,

Montgomery County announced that, consistent with the district court’s

order, it would count the affected mail ballots, including the six in

Towamencin. Supp.App.937; see also App.143-144.




6 Pennsylvania law contemplates that votes may take three weeks to be

computed and canvassed. The official canvass of election results starts
at 9:00a.m. on the Friday after the election, 25 P.S. § 3154(a). The county
must submit unofficial results by 5p.m. the following Tuesday. 25 P.S.
§ 3154(f). But the county continues its canvass after that date. See 25
Pa. C.S.A. § 3511. Provisional ballots are adjudicated within seven days,
25 P.S. § 3050(a.4)(4), but, if any of those ballots are challenged, a hearing
must occur within seven days. Whenever the computation and canvass
is finished, results are conditionally certified for five days. 25 P.S.
§ 3154(a). Unless a petition for recount or an appeal of a county board
decision has been timely filed, at the expiration of five days, the results
are finally certified. 25 P.S. §3154(f).
                                     16
     Despite that announcement, Marino took no action in state court,

where a timely-filed appeal of the board’s decision would have stayed

certification of the race by operation of law. See 25 P.S. § 3157. Nor did

he file any motion in the district court, even though the court advised the

parties (including Marino’s attorneys, who also represent his political

party) that it would enter judgment by November 28 “if no further

motions [we]re filed.” Supp.App.588.

     On November 27, the Montgomery County Board opened and

counted    the     six   ballots,    resulting   in    a    3,035-to-3,035

tie. Supp.App.942. The Board scheduled the statutorily prescribed

drawing of lots for November 30. Supp.App.948. Again, neither Marino

nor his political party took action in any court. Nor did Marino seek a

recount within the five-day window following the completion of counting

(or thereafter). See 25 P.S. § 3154(e).

     On November 30, Marino lost the drawing. Supp.App.943-944.

     On December 4, the next week, Marino filed an election contest in

the Court of Common Pleas in a belated challenge to the November 22




                                    17
decision to count the affected mail ballots. 7       App.152.    Marino

acknowledged his tardiness, styling his motion “nunc pro tunc.” Id. The

court dismissed the lawsuit. App.197. In its written opinion, the court

concluded that Marino’s petition “was untimely filed” and “should be

denied on that basis.” Supp.App.957-958.

     With no stay in effect, no recount requested, and the five-day

waiting period complete, Montgomery County certified the election on

December 4 and thereafter mailed certificates of election to the winners.

Supp.App.950-951.

     Marino appealed the denial of his belated state-court appeal and

eventually   sought   temporary    relief.    On   December     29,   the

Commonwealth Court denied Marino’s motion for relief because, among

other reasons, his challenge was untimely. SuppApp.975-985.

     On January 2, 2024, Marino’s opponent was sworn into office.




7 Marino sought intervention in the district court on Friday, December 1,

after judgment had entered, his state-court deadlines had lapsed, and he
had lost the drawing. ECF No. 351; ECF No. 361. Marino’s subsequent
intervention motion in this Court was granted subject to briefing
regarding jurisdiction. See infra 58-59.
                                   18
   STANDARD OF REVIEW AND SUMMARY OF ARGUMENT

     I.      On de novo review, e.g., DIRECTV Inc. v. Seijas, 508 F.3d 123,

125 (3d Cir. 2007), this Court should affirm. The undisputed facts align

perfectly with the Materiality Provision’s plain text. In 2022, thousands

of Pennsylvania voters were:

     •    “den[ied] the right ... to vote” (i.e., their ballots were not
     “counted and included in the appropriate totals of votes cast”);

     •    “because of an error or omission” (i.e., omitting or incorrectly
     inputting the handwritten date);

     •      on a “record or paper” related to an “act requisite to voting”
     (i.e., the paper form printed on the mail ballot return envelope,
     which the counties required voters to complete to have their ballots
     counted);

     •    that was “not material” to whether the voter “is qualified
     under State law to vote in [the] election” or whether the mail ballot
     was timely received (because all parties concede that the
     handwritten envelope date has no bearing at all on either).

52 U.S.C. § 10101(a)(2)(B), (a)(3)(A), (e). See infra 22-34. There may be

close cases in applying the Materiality Provision, but here the utter

immateriality of the handwritten envelope-date is “fairly obvious.”

Vote.Org v. Callanen, --- F.3d ----, 2023 WL 8664636, at *13 (5th Cir. Dec.

15, 2023).

     GOP-Intervenors cannot evade plain text and a record full of

concessions.     They argue that the statute only applies to voter
                                     19
registration, but the text says otherwise, and the interpretive canons on

which they rely, like ejusdem generis, cannot create ambiguity where

none exists. See infra 34-44. They oppose a plain-text reading on policy

grounds, claiming that federalism itself is at stake, but cannot point to

any commonsense election rule that the Materiality Provision would

threaten, only immaterial mail-ballot paperwork requirements that

needlessly disenfranchise voters. See infra 44-47. Their constitutional

avoidance argument fails because there is nothing to avoid. See infra 47-

51.

      II.   Plaintiffs   have   a   right   of   action   to   contest   mass

disenfranchisement. The statute guarantees “the right of any individual

to vote in any election.” 52 U.S.C. § 10101(a)(2)(B). GOP-Intervenors do

not contest that this crystal-clear guarantee of federal rights is

presumptively enforceable under 42 U.S.C. § 1983. See Gonzaga Univ. v.

Doe, 536 U.S. 273, 283-284 (2002). Nor can they rebut the presumption.

Statutory text, context, and legislative history all confirm Congress

expressly contemplated private enforcement. See infra 51-57.

      III. GOP-Intervenors’ arguments about the 2023 municipal

election are irrelevant because that election is over, which is why local


                                     20
candidate Marino should be dismissed from this appeal. The state courts

rejected Marino’s election lawsuit as untimely. His opponent has been

sworn in. His claims are moot, just like the losing candidate in Migliori

after the Supreme Court’s stay denial. See infra 58-59.

     Nor do GOP-Intervenors have any live argument regarding the

2023 election, despite their invocation of Purcell. This is a merits appeal,

not a stay motion. GOP-Intervenors are not election administrators. And

there is nothing remotely infeasible about counting timely-received mail

ballots despite a meaningless paperwork mistake. See infra 59-61.

     IV.   The district court’s dismissal of some counties on standing

grounds bears no resemblance to Bush v. Gore.           It does not require

different counties to treat votes differently. In fact, two-thirds of counties

are already either bound by the district court’s order or subject to a court-

ordered stipulation to follow it, and the rest should comply voluntarily

going forward. They certainly aren’t required to do otherwise by the

Pennsylvania Supreme Court’s Ball v. Chapman decision, which

expressly left any questions federal law questions “unresolved.” E.g., 289

A.3d at 34-35 (Pa. 2022) (Dougherty, J.). And even if GOP-Intervenors’

surmise of disuniformity had some real-world basis, this Court’s decision


                                     21
will bring complete uniformity for 2024, by setting precedent that will be

enforceable in federal courts across the Commonwealth. See infra 61-65.

                             ARGUMENT

 I.   DISENFRANCHISING VOTERS BECAUSE OF                             THE
      ENVELOPE-DATE RULE VIOLATES FEDERAL LAW

      A.    The Materiality Provision Forbids Disenfranchising
            Voters for Trivial Mistakes on Voting-Related
            Paperwork

      The Materiality Provision prohibits state actors from “deny[ing] the

right of any individual to vote in any election because of an error or

omission on any record or paper relating to any application, registration,

or other act requisite to voting, if such error or omission is not material

in determining whether such individual is qualified under State law to

vote in such election.” 52 U.S.C. § 10101(a)(2)(B). The statute defines

the word “vote” broadly, as “all action necessary to make a vote effective

including, but not limited to, registration or other action required by

State law prerequisite to voting, casting a ballot, and having such ballot

counted and included in the appropriate totals of votes cast.”          Id.

§ 10101(a)(3)(A), (e).

      In plain terms, the Materiality Provision applies where a state

actor refuses to count a person’s ballot based on a minor mistake on

                                    22
required, voting-related paperwork, if that mistake is unrelated to

ascertaining a voter’s qualifications to vote in the election at hand. Id. at

(a)(2)(B); see also, e.g., Migliori, 36 F.4th at 162, 164; Fla. State Conf. of

N.A.A.C.P. v. Browning, 522 F.3d 1153, 1175 (11th Cir. 2008); Schwier v.

Cox, 340 F.3d 1284, 1294 (11th Cir. 2003).

     While     the    law’s    immediate     aim     addressed     Jim-Crow

disenfranchisement, see infra 37-38, 42, 50-51, Congress crafted the

provision as a broader prophylactic against unfair disenfranchisement

based on trivial paperwork mistakes, the better to protect the

fundamental right to vote for all. 8 See Browning, 522 F.3d at 1173

(explaining that, “in combating specific evils,” Congress may “choose a

broader remedy”).

     Accordingly, courts have repeatedly held that denying the right to

vote for failure to correctly complete some irrelevant paperwork

requirement violates the Materiality Provision, across various contexts.

For example, in Ford v. Tennessee Senate, the court held that in-person

voters’ ballots could not be set aside because they had not met an


8 See also Vote.Org v. Callanen, --- F.3d ---- 2023 WL 8664636, at *14 (5th

Cir. Dec. 15, 2023) (“The provision was written in a somewhat over-
inclusive form to capture well-disguised discrimination.”).
                                     23
unnecessary “technical requirement” to separately sign both a ballot

application form and a poll book. No. 06-CV-2031, 2006 WL 8435145, at

*7, *10-11 (W.D. Tenn. Feb. 1, 2006). After numerous states changed

their voter registration forms following passage of the Help America Vote

Act in 2002, courts resolved challenges to immaterial ID-matching and

other requirements added to state voter registration forms. See, e.g.,

Schwier, 340 F.3d at 1294; Wash. Ass’n of Churches v. Reed, 492

F.Supp.2d 1264, 1266, 1271 (W.D. Wash. 2006).

     And with the expansion of mail-ballot voting, courts have held that

voters cannot be disenfranchised for immaterial mistakes on mail-ballot-

related paperwork. See, e.g., La Unión del Pueblo Entero v. Abbott, No.

21-CV-0844, --- F.Supp.3d ----, 2023 WL 8263348, at *7 (W.D. Tex. Nov.

29, 2023) (requirement to write number that matches state database

invalid); In re Georgia Senate Bill 202, No. 21-CV-01259, 2023 WL

5334582, at *8 (N.D. Ga. Aug. 18, 2023) (requirement to handwrite birth

year likely invalid); Martin v. Crittenden, 347 F.Supp.3d 1302, 1308-09

(N.D. Ga. 2018) (similar); see also League of Women Voters of Ark. v.

Thurston, No. 20-CV-05174, 2023 WL 6446015, at *16 (W.D. Ark. Sept.

29, 2023) (Materiality Provision applied to absentee ballot application


                                   24
but challenged attestation requirement was material); Org. for Black

Struggle v. Ashcroft, 493 F.Supp.3d 790, 803 (W.D. Mo. 2020) (similar). 9

This category of cases includes Migliori, where this Court concluded the

Materiality Provision prohibits disenfranchising Pennsylvania voters

based on the envelope-date requirement. 36 F.4th at 162-166.

     B.     The Materiality Provision Applies Here as a Matter of
            Plain Text

     The undisputed facts in the record present a textbook violation of

the Materiality Provision’s plain terms.

          1. Pennsylvania voters were denied the right to vote…

     The Materiality Provision bars state actors from “deny[ing] the

right of any individual to vote in any election.”              52 U.S.C.

§ 10101(a)(2)(B). Voting includes “all action necessary to make a vote

effective including … casting a ballot, and having such ballot counted and

included in the appropriate totals of votes cast.” Id. at § 10101(a)(3)(A),

(e). So defined, the right to vote “by definition includes not only the

registration and eligibility to vote, but also the right to have that vote




9 Accordingly, there was no “widespread understanding” “[f]rom 1964
until 2022” that the Materiality Provision applied only to voter
registration, GOP Br. 32-33; see also id. 1-2.
                                    25
counted.” Ford, 2006 WL 8435145, at *11; see also, e.g., Migliori, 36 F.4th

at 164 (excluding mail ballots due to omitted handwritten envelope dates

is “denying [v]oters their right to vote”); La Unión, 2023 WL 8263348, at

*22.

       In 2022, county elections boards, acting under color of law, refused

to “count[] and include[] in the appropriate totals of votes cast” at least

ten thousand voters’ ballots based on the envelope-date issue, including

those of the individual voter plaintiffs. See Supp.App.158-170; see also

id. 131-136. That is an actionable denial of the right to vote as the statute

defines it.

         2. … “because of an error or omission” on a “record or
            paper relating to … [an] act requisite to voting” …

       The challenged refusal to count thousands of mail ballots was

“because of an error or omission on any record or paper relating to any

application, registration, or other act requisite to voting.” 52 U.S.C.

§ 10101(a)(2)(B).

       There is no dispute that counties refused to count thousands of mail

ballots in the 2022 election because the voters either did not include the

handwritten date on the return envelope (an “omission”) or wrote a date

deemed incorrect for being outside the range in the Ball order (an

                                     26
“error”). See Supp.App.158-170. Nor is there any dispute that this “error

or omission” was “on” a “paper,” namely the declaration form printed on

the mail-ballot-return envelope. See Supp.App.129, 180. Indeed, the

record contains numerous examples of these paper envelope forms, each

stamped as timely-received but unopened and uncounted due to the

handwritten date. See Sealed.Supp.App.1111-1201.

     It is also undisputed that the handwritten date was required for

voters’ mail ballots to count in the 2022 election. See Supp.App.129, 158-

166. In other words, handwriting an immaterial date on the envelope

form was an “act requisite to voting” for those voters in the 2022 election.

52 U.S.C. § 10101(a)(2)(B); see also Migliori, 36 F.4th at 162 n.56; La

Unión, 2023 WL 8263348, at *19; Martin, 347 F.Supp.3d at 1308-1309;

Thurston, 2023 WL 6446015, at *16. The envelope form is a required

piece of voting-related paperwork, covered by the statute.

        3. … that is “not material in determining whether such
           individual is qualified under State law to vote in such
           election.”

     The handwritten envelope date’s immateriality is indisputable.

Indeed, as the Fifth Circuit recently noted, the envelope date’s




                                    27
immateriality is “fairly obvious.” Vote.Org, 2023 WL 8664636, at *13. 10

     In considering whether a particular error or omission is “material

in determining whether such individual is qualified under State law to

vote in such election,” 52 U.S.C. § 10101(a)(2)(B), courts generally look to

the qualifications to vote set forth in state law. See Migliori, 36 F.4th at

162-164; La Unión, 2023 WL 8263348, at *15; Martin, 347 F.Supp.3d at

1308-1309; Reed, 492 F.Supp.2d at 1270; Schwier v. Cox, 412 F.Supp.2d

1266, 1276 (N.D. Ga. 2005), aff’d, 439 F.3d 1285; see also Browning, 522

F.3d at 1175 (issue is “whether, accepting the error as true and correct,

the information contained in the error is material to determining the

eligibility of the applicant”) (emphasis omitted).

      In Pennsylvania, the “qualifications” to vote are age, U.S.

citizenship, duration of residence in the district, and felony-incarceration



10 GOP-Intervenors misplace reliance (at 18-19) on the non-precedential

stay opinion in Vote.Org, 39 F.4th 297 (5th Cir. 2022), which was eclipsed
by the subsequent merits panel opinion. The merits panel rejected the
stay panel’s views on multiple legal issues. See 2023 WL 8664636, at *6-
10 (private right of action); id. at *18-19 (racial discrimination
requirement). That stay opinion, and the one in U.S. v. Paxton on which
GOP-Intervenors also rely (at 6, 26, 32, 40), should be disregarded; as
Vote.Org shows, they are “essentially written in sand with no
precedential value.” Richardson v. Texas Sec'y of State, 978 F.3d 220,
244 (5th Cir. 2020) (Higginbotham, J., concurring).
                                    28
status. Supp.App.127; see 25 Pa. C.S.A. § 1301(a); Migliori, 36 F.4th at

163-164. All parties conceded below that the handwritten envelope date

bears no relationship to any of these. Supp.App.70-71, 180-186, 627-631,

699-701, 704, 814-817. A voter’s qualifications are confirmed by their

county board of elections when they register and when they apply for a

mail ballot. Supp.App.127-128; see Migliori, 36 F.4th at 163-164; La

Unión, 2023 WL 8263348, at *25; Martin, 347 F.Supp.3d at 1309.

     The handwritten envelope date also has nothing to do with

“ensuring ballots are timely cast.” GOP Br. 39. 11 Again, all parties

conceded this point. The thousands of voters whose ballots were excluded

necessarily completed their mail ballots during the proper period, which

is “any time” prior to 8 p.m. on Election Day. Supp.App.128-129, 200; 25

P.S. §§ 3146.6(a), 3150.16(a). Their ballots were all received by then, and

were thus timely, regardless of any date written on the return envelope.

Supp.App.129, 186-189; 25 P.S. §§ 3146.6(c), 3150.16(c). Elections boards



11 Refusal to count a voter’s mail ballot because it was not timely remitted

does not violate the Materiality Provision because that is not an error or
omission “on any record or paper.” GOP-Intervenors’ repeated reliance
on Friedman v. Snipes (at 8, 18, 32) is thus misplaced; that case involved
the deadline to submit absentee ballots, not any paperwork error on
voting-related paperwork. 345 F.Supp.2d 1356, 1371-72 (S.D. Fla. 2004).
                                    29
independently time-stamped the mail-ballot envelopes to confirm their

timeliness. Supp.App.129.      These concessions demonstrate that

“backdating” the envelope could never render an untimely-received ballot

timely. Supp.App.189, 200, 654-655. Accord Migliori, 36 F.4th at 164

(stamping envelopes renders handwritten date “superfluous and

meaningless.”).

     Nor does the handwritten envelope date perform any other function

that might render it “material” under some more limited construction of

that term.   GOP-Intervenors’ attempts to suggest one (at 46-47) are

waived, wholly unsupported, and contrary to Pennsylvania law.

     For instance, there was neither argument nor evidence adduced

below that a handwritten envelope date plays some “ritual function.”

GOP Br. 46. Nor was there any evidence or even suggestion that the

handwritten date has any bearing on whether a voter is “actually who

they say they are.” Vote.Org, 2023 WL 8664636, at *19 (cited in GOP Br.

46-47).   The law and the undisputed record are conclusively to the

contrary. County elections boards “ascertain[ed]” voters’ qualifications

when they applied for a mail ballot.    25 P.S. §§ 3146.2b, 3150.12b;

Supp.App.127-128. The thousands of voters who were disenfranchised in


                                  30
2022 were required to sign, and did sign, the declaration form attesting

to their identities and stating, “I am qualified” to vote.        See, e.g.,

Supp.App.167-170; 25 P.S. § 3150.14 (envelope form contains “a

statement     of   the    elector’s   qualifications”);   see   also,   e.g.,

Sealed.Supp.App.1111-1201. Potential criminal penalties for any false

attestation attached when the voters “sign[ed]” the form, regardless of

the date. 25 P.S. § 3553. 12

     Nor does the handwritten envelope date “establish[] a point in time

against which to measure the elector’s eligibility to cast the ballot,” GOP

Br. 46 (quoting In re Canvass, 241 A.3d at 1090 (opinion of Dougherty,

J.)). There was (again) neither evidence nor argument below that any

county used the envelope date in that way. Nor could there be, because

the relevant date for determining a voter’s eligibility is Election Day, not

whatever date they signed the envelope. See Pa. Const. art. VIII, § 1; 25

P.S. §§ 1301(a), 2811.




12 A missing or incorrect date commonly does not deprive a document of

its legal effect. For example, “the absence of a date [on declarations under
28 U.S.C. 1746] does not render them invalid if extrinsic evidence could
demonstrate the period when the document was signed.” Peters v.
Lincoln Elec. Co., 285 F.3d 456, 475-76 (6th Cir. 2002).
                                      31
      GOP-Intervenors’ repeated allusions to vague “fraud” prevention

purposes (at 2, 31-32, 39, 45, 46) are baseless. It was conceded below that

there were no fraud concerns with any of the ballots set aside in 2022.

Supp.App.173-174. Voters who die before Election Day are automatically

removed from the voter rolls and their ballots are not counted, regardless

of any handwritten envelope date. Supp.App.192-193, 727-731. Even if

the Materiality Provision included some “fraud prevention” exception—

and none appears in the statutory text, Migliori, 36 F.4th at 163; accord

La Unión, 2023 WL 8263348, at *9; Reed, 492 F.Supp.2d at 1266, 1270—

GOP-Intervenors offer no concrete explanation for how the handwritten

date at issue in this case might advance such purposes. Cf. Vote.Org,

2023 WL 8664636, at *13, *19-21 (wet-ink signature on registration form

was material, but immateriality of Pennsylvania envelope-date rule was

“fairly obvious”). 13

      The counties’ arbitrary and inconsistent application of the

envelope-date requirement underscores the point.



13 Relatedly, GOP-Intervenors’ suggestion (at 48) that the envelope-date

rule deserves deference as a legislative judgment is undercut by their
complete failure to articulate any policy goal served by disenfranchising
voters for failure to comply with it.

                                    32
     If the date mattered, county boards should not disenfranchise

voters who wrote correct dates on the envelope form—yet numerous

counties did just that. See supra 12. If the date mattered, county boards

also should not count ballots where the date was necessarily wrong. Yet

some counties did that too, accepting envelope dates from before the

county began sending ballots to voters, Supp.App.169-170, 212-213, 830-

833; dates later than the board of elections’ own time-stamp,

Supp.App.213, 903-904; and non-existent dates, like September 31,

Supp.App.205, 901-902. See supra 12-13.

     The date does not matter. The undisputed record instead supports

the district court’s conclusion that it is “wholly irrelevant,” App.79.

     C.    GOP-Intervenors Misconstrue the Statute

     Because the Materiality Provision’s plain terms apply, the Court’s

job “is at an end.” Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1749 (2020);

accord Newton v. Comm’r Soc. Sec., 983 F.3d 643, 649 (3d Cir. 2020). To

evade applying plain statutory language to undisputed facts, GOP-

Intervenors offer a hodge-podge of misapplied interpretive canons, a

contorted rendition of congressional intent, and straw-man policy




                                     33
arguments. None of that can justify the violence that they would do to

the text as Congress wrote it. Bostock, 140 S. Ct. at 1749.

         1. The Materiality Provision Is Not Limited to Voter
            Registration

      GOP-Intervenors’ argument that the Materiality Provision “refers

only to voter registration.” GOP Br. 20-21, is refuted by unambiguous

statutory text. See Migliori, 36 F.4th at 162 n.56; 14 accord Common

Cause v. Thomsen, 574 F.Supp.3d 634, 636 (W.D. Wis. 2021) (“[T]he text

of § 10101(a)(2)(B) isn’t limited to race discrimination or voter

registration.”). 15




14 Contrary to GOP-Intervenors claim (at 44), their argument that the

Materiality Provision only applies to voter registration was squarely
presented in Migliori. Appellees’ Br., Migliori v. Cohen, No. 22-1449,
Dkt. 49 at 46-49. The fact that it was rejected in a footnote speaks to its
inconsistency with the statute’s text.            GOP-Intervenors also
mischaracterize Judge Matey’s concurrence (at 43-44). Judge Matey did
not fault Ritter’s counsel for overlooking important arguments; he noted
that the record contained fatal concessions that are in this record, too.
See, Migliori, 36 F.4th at 165-166.
15 In terms of case law, GOP-Intervenors rely (at 19-20) on (1) the non-

precedential, superseded Vote.Org stay opinion, see supra n.10; (2)
Justice Alito’s non-precedential dissent in Ritter, 142 S. Ct. 1824; and (3)
Vote.Org merits panel’s acknowledgement, in a footnote and without
endorsement, of the Ritter stay dissent, 2023 WL 8664636 at *12 n.7.
They do not point to any precedential opinion adopting their misreading.
                                    34
     The statute prohibits denial of the right to vote based on immaterial

errors or omissions “on any record or paper relating to any application,

registration, or other act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B)

(emphasis added).    Limiting the statute’s scope to records or papers

relating to “registration” would render the broader phrase “or other act

requisite to voting” nugatory. See, e.g., Idahoan Fresh v. Advantage

Produce, Inc., 157 F.3d 197, 202 (3d Cir. 1998). GOP-Intervenors’ reading

also ignores the express definition of voting as including “all action

necessary to make a vote effective including, but not limited to,

registration …, casting a ballot, and having such ballot counted and

included in the appropriate totals of votes cast.”             52 U.S.C.

§ 10101(a)(2)(B), (a)(3)(A), (e). That definition encompasses a paper form

whose completion is required for a person to have their vote “counted and

included in the appropriate totals of votes cast.” See supra 26-27.

     GOP-Intervenors’ resort to the interpretive canon of ejusdem

generis (at 20) is unavailing. This only helps to “ascertain[] the correct

meaning of words when there is uncertainty.” Harrison v. PPG Indus.,

Inc., 446 U.S. 578, 588-589 (1980) (citation and quotation omitted).

Where (as here) Congress has used general terms of clear application to


                                    35
the subject at issue, ejusdem generis cannot limit the statute as written.

Id.; see also, e.g., Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 226-227

(2008) (courts should not “create ambiguity where the statute’s text and

structure suggest none”); United States v. EME Homer City Generation,

L.P., 727 F.3d 274, 292-293 (3d Cir. 2013) (“[S]ometimes a catch-all is

just a catch-all.”).

       This reading makes sense given Congress’s repeated use of the term

“any” (as in, “any record or paper relating to any application, registration,

or other act requisite to voting,” 52 U.S.C. § 10101(a)(2)(B) (emphasis

added)). “Any” is “expansive” and “naturally” reads as “referring to all”

acts requisite to voting. United States v. Gonzales, 520 U.S. 1, 5 (1997).

Here, Congress twice deployed that word to describe the range of paper

forms covered by the prohibition against disenfranchisement for

immaterial errors.     See, e.g., Ali, 552 U.S. at 219, 225 (rejecting

application of ejusdem generis to phrase “or any other law enforcement

officer”). 16


16 Especially given GOP-Intervenors’ insistence (at 20) that “registration”

and “application” have the same meaning, the statute reads more like the
“disjunctive” structure at issue in Ali, “with one specific and one general
category,” rather than a list of specific terms as in the typical application
of ejusdem generis. 552 U.S. at 225.
                                     36
     Nor does legislative history demonstrate that Congress’s language

“means anything other than what it says.” Harrison, 446 U.S. at 589. To

be sure, voter registration was top of mind for Congress in enacting the

Materiality Provision because registration was a key chokepoint used to

prevent Black Americans from entering the political process. E.g., H.

Rep. No. 88-914 (1963), reprinted 1964 U.S.C.C.A.N. 2391, 2394, 2485-

2487, 2491.    But contrary to GOP-Intervenors’ suggestion (at 22),

Congress’s “statutory aim” was not limited to voter registration.

     Congress sought to protect not merely registrants, but “all persons

seeking to vote” and did so “by prohibiting the disqualification of an

individual because of immaterial errors or omissions in papers or acts

relating to such voting.” Id. at 2394, 2491 (emphasis added).17 Crafting

the Materiality Provision as a broader rule that protects “the right of any

individual to vote in any election,” 52 U.S.C. § 10101(a)(2)(B), served that

goal. A rule protecting voter registration but allowing registered voters

to be denied an effective vote, however, would not have accomplished



17 See also, e.g., 110 Cong. Rec. 6530 (1964) (Sen. Humphrey) (noting

noting “technique[s] for denying . . . the right to vote,” such as “ask[ing]
questions that have nothing to do with the applicant’s qualifications to
vote.” (emphasis added)).

                                    37
“Congress’ broader, well-documented aim of eradicating all manner of

arbitrary and discriminatory denials of the right to vote,” since new

paperwork-based chokepoints would have quickly emerged. La Unión,

2023 WL 8263348, at *21.

     The record in this case reflects that danger. One defending county

official testified that, under the view GOP-Intervenors advance, a voter’s

mail ballot could permissibly be excluded for failure to comply with a

requirement to list their exact age in days on the mail-ballot envelope.

See Supp.App.642-643. Such “exact-age” paperwork requirements were

widely used in the Jim Crow South, and Congress sought to eradicate

them with the Materiality Provision. E.g., Condon v. Reno, 913 F. Supp.

946, 950 (D.S.C. 1995); accord Schwier, 340 F.3d at 1294.                GOP-

Intervenors ask this Court to hold that they can be revived and imposed

on the mail-ballot envelope to disenfranchise voters.

     In light of Congress’s purpose to protect access to the ballot and not

merely   registration,   statutory   references   to    “registration”    and

“application” forms provide a “paradigmatic” example of the type of

paperwork might that be used to disenfranchise voters based on trivial

mistakes. See Christopher v. SmithKline Beecham Corp., 567 U.S. 142,


                                     38
164 (2012).      That is not unusual: “Congress sometimes inserts

‘technically unnecessary’ examples along with a general description of

those examples … to ensure the general term will be interpreted as

capturing those examples.”      EME Homer City, 727 F.3d at 292-293

(citation omitted). 18

      GOP-Intervenors’ attempts to twist the meaning of other statutory

phrases are even less convincing.        They claim (at 23-25) that the

Materiality Provision only applies to a record or paper “used ‘in

determining’ whether an individual is ‘qualified’ to vote.” 19     But the

statute says the opposite: The Materiality Provision prohibits vote denial

based on trivial paperwork errors when those errors are “not material in

determining whether such individual is qualified under State law to vote

in such election.” 52 U.S.C. § 10101(a)(2)(B) (emphasis added); see also,




18 Giving the catch-all phrase its full meaning would not render the words

“registration” and “application” superfluous. GOP Br. 21. Those terms
help clarify that the type of “act requisite to voting” to which the “record
or paper” must relate is the completion of officially-required, voting-
related paperwork.
19 GOP-Intervenors wrongly suggest (at 25) that voter qualifications are

determined exclusively during the initial voter registration process. But
counties “ascertain” a voter’s “qualifications” when they apply for a mail
ballot. 25 P.S. § 3146.2b.
                                    39
e.g., Browning, 522 F.3d at 1173. GOP-Intervenors’ contrary reading

would greenlight disenfranchisement for all manner of irrelevant

mistakes on ancillary forms under the guise of “determin[ing] a ballot’s

validity,” GOP Br. 25 (emphasis omitted).       See La Unión, 2023 WL

8263348, at *26.

      Nor    do    neighboring   statutory   subsections   support   GOP-

Intervenors’ “qualification-determinations-only” construction (at 24-25).

Even if those separate provisions dealt exclusively with voter

qualification determinations, that would only highlight the Materiality

Provision’s comparatively broader scope.        For instance, subsection

10101(a)(2)(A) prohibits the use of non-uniform practices to “determin[e]

whether any individual is qualified under State law or laws to vote in any

election.”   By contrast, the Materiality Provision contains no such

limitation; it prohibits “deny[ing] the right of any individual to vote in

any election.”     With such “differing language” come differences in

meaning. See, e.g., Russello v. United States, 464 U.S. 16, 23 (1983). And

in any case, GOP-Intervenors’ premise is wrong because subsections

10101(a)(2)(A) and (a)(2)(C) have been applied outside of the voter

registration context. E.g., Marks v. Stinson, No. 93-CV-6157, 1994 WL


                                    40
146113, at *34 (E.D. Pa. Apr. 26, 1994) (applying Section 10101(a)(2)(A)

to “the delivery of Absentee Ballot Packages”).

     GOP-Intervenors misrepresent the text in claiming (at 24-25) that

remedies available in suits brought under subsections 10101(c) and (e) of

the statute somehow “reinforce[]” the supposed “qualification-and-

registration focus of § 10101(a).” Those provisions allow the Attorney

General to sue to prevent the deprivation of “any right or privilege

secured by subsection (a) or (b).” 52 U.S.C. § 10101(c) (emphasis added

for language omitted from GOP Br.). GOP-Intervenors agree (at 25) that

subsection 10101(b) encompasses rights related to the “act of voting,” and

not just qualification determinations. The actual scope of the Attorney

General’s remit under Section 10101 refutes rather than advances GOP-

Intervenors’ argument.

     Nor does the statutory term “right to vote” help GOP-Intervenors.

They argue (at 26-27) that, because mail-ballot voting was uncommon in

1964, the term “right to vote” must be construed to exclude voting by

mail. But that is not an argument about the meaning of the statutory

language, which Congress expressly defined as including “all action

necessary to make a vote effective,” 52 U.S.C. § 10101(a)(3)(A), (e).


                                   41
Rather, it proceeds from the supposition that, “because few in 1964

expected today’s result, we should not dare to admit that it follows

ineluctably from the statutory text.” Bostock, 140 S. Ct. at 1750.

     Statutory interpretation does not work that way. 20 With the Civil

Rights Act and the Voting Rights Act, Congress enacted “major piece[s]

of federal civil rights legislation,” id. at 1753, designed to succeed where

prior legislation had failed, and to stymie even not-yet-invented,

“ingenious” forms of vote denial. South Carolina v. Katzenbach, 383 U.S.

301, 309 (1966); see, e.g., H.R. Rep. 88-914, 1964 U.S.C.C.A.N. 2391, 2489

(Rep. McCulloch) (prior civil rights laws were not “sufficient to end

wholesale voter discrimination in many areas.”); 110 Cong. Rec. 6714-

6715 (1964) (Sen. Keating) (immaterial errors used to “circumvent the

1957 and 1960 acts”). Congress’s decision to broadly define the right to

vote in response to this problem “virtually guaranteed that unexpected

applications would emerge over time.” Bostock, 140 S. Ct. at 1753.




20 GOP-Intervenors’ reliance (at 26) on N.Y. State Rifle & Pistol Ass’n,

Inc. v. Bruen, 597 U.S. 1 (2022) for the proposition that the term “right
to vote” should be interpreted “with reference to ‘history’” conflates
ordinary statutory interpretation with the legal test for determining a
Second Amendment violation. They are different.
                                    42
      GOP-Intervenors are similarly wrong in their categorical argument

(at 27-30, 41-43) that “mandatory ballot-casting rules do not deny anyone

‘the right to vote’ under the Materiality Provision.” To be sure, the vast

majority of “rules that regulate how eligible individuals receive and cast

their ballots,” GOP Br. 29, are outside the Materiality Provision’s well-

defined ambit. See infra 45-47. But practices that require a voter’s ballot

to be set aside and not counted based solely on a meaningless paperwork

mistake come within it. 21 See 52 U.S.C. § 10101(a)(2)(B).

      GOP-Intervenors’ reliance (at 28-29) on cases holding that there is

no constitutional right to vote by mail 22 ignores the statutory right at

issue, which extends to having a ballot “counted and included in the

appropriate totals of votes cast.” 52 U.S.C. § 10101(a)(2)(B), (a)(3)(A), (e).



21 It is no response to say that such a voter has been subject to a
“forfeiture of the right to vote, not the denial of that right.” Ritter, 142 S.
Ct. at 1825 (Alito, J., dissenting) (cited in GOP Br. 28-29). That logic
would contravene the statute’s protection for having a ballot “counted
and included in the appropriate totals of votes cast,” 52 U.S.C.
§ 10101(a)(2)(B), (a)(3)(A), (e) and would allow voters to be
disenfranchised for trivial paperwork mistakes like failing to write their
age in months and days on the mail-ballot envelope. See supra 38.
22 For example, McDonald v. Bd. of Election Comm’rs of Chi., 394 U.S.

802 (1969) involved prisoners claiming constitutional right “right to
receive absentee ballots” where, unlike here, state law provided none. Id.
at 807.
                                      43
Where mail voting is made available, state actors cannot violate federal

law in its administration. E.g., La Unión, 2023 WL 8263348, at *22-23.

     Nor does it matter whether voters are wholesale disqualified or

merely denied the right to vote in a single election. GOP Br. 29-30. Both

are impermissible under the statute’s plain terms. See Migliori, 36 F.4th

at 163-164. Indeed, the statutory text reinforces this point by repeatedly

referring to the right to vote “in any election” and “in such election.” 52

U.S.C. § 10101(a)(2)(B). It is irrelevant whether a voter whose ballot has

been discarded remains “qualified and eligible” to vote in some future

election, GOP Br. 30. That voter, like the thousands of Pennsylvanians

whose   ballots    were   discarded    in   2022,   has   been   unlawfully

disenfranchised.

        2. The Materiality Provision’s Scope Is Clear and Modest

     GOP-Intervenors’ “federalism canon” argument is built on the false

premise that reading the Materiality Provision according to its plain

meaning will somehow “jeopardize many longstanding ballot-casting

rules nationwide long assumed to be legitimate.” GOP Br. 30; see id. 33-

34. This argument ignores the Materiality Provision’s self-limiting scope,




                                      44
which extends only and specifically to denials of the right to vote due to

immaterial errors on voting-related paperwork.

     Applying the Materiality Provision as written will not affect States’

capacity to write and enforce “reasonable,” “commonsense” election rules

(GOP Br. 17, 33). Regulations involving the time and place of voting are

categorically not covered. 23       Similarly, none of the rules from the

inapposite        cases   GOP-Intervenors     cite—like   party   registration

requirements, candidate filing deadlines, the availability of “fusion

voting,”     or     mail-ballot-collection   practices—involves   immaterial

paperwork errors. 24



23 E.g., DCCC v. Kosinski, 614 F.Supp.3d 20, 55 (S.D.N.Y. 2022)
(Materiality Provision inapplicable to failure to vote at the right polling
place); Snipes, 345 F.Supp.2d at 1371-72; see also Ind. Democratic Party
v. Rokita, 458 F.Supp.2d 775, 841 (S.D. Ind. 2006) (failure to present
identification “is by definition not an ‘error or omission on any record or
paper’”), aff’d sub nom. Crawford v. Marion Cnty. Election Bd., 472 F.3d
949 (7th Cir. 2007), aff’d, 553 U.S. 181 (2008).
24 See GOP Br. 28-29 (citing Rosario v. Rockefeller, 410 U.S. 752, 754,

reh’g denied, 411 U.S. 959 (1973) (party registration deadline); Timmons
v. Twin Cities Area New Party, 520 U.S. 351, 357 (1997) (fusion voting);
Brnovich v. DNC, 141 S. Ct. 2321, 2330 (2021) (in-precinct voting
requirement and mail ballot collection); DNC v. Wis. State Legis., 141 S.
Ct. 28 (Mem.) (2020) (absentee ballot deadlines)) and 30-31 (citing
Clingman v. Beaver, 544 U.S. 581, 587-588 (2005) (semi-closed primary
law); Anderson v. Celebrezze, 460 U.S. 780, 790-792 (1983) (early

                                        45
     Even the few “paper-based” rules GOP-Intervenors cobble together

(at 32-24, citing Ball, 289 A.3d at 38-39 (Brobson, J., dissenting)) fall

outside the plain statutory language. The Materiality Provision would

not apply to a requirement that a mail ballot be placed in a secrecy

envelope (GOP Br. 34), because that is not “an error or omission on any

record or paper,” 52 U.S.C. § 10101(a)(2)(B) (emphasis added). It would

not apply to prohibitions on overvoting (i.e., “voting for more candidates

than there are offices,” GOP Br. 34), because that error is not on some

“paper” that is made “requisite to voting,” but on the ballot itself. 25 And

it would not apply to the failure to sign the form on the mail ballot return

envelope or some other similar form (GOP Br. 33-34) because unlike the

date, the voter’s signature—at least if it is on a form affirming their

qualifications or identity—is material to determining that they are

qualified to vote. Cf. Vote.Org, 2023 WL 8664636, at *21 (“Signing an

application is related to voting qualifications.”).      GOP-Intervenors’



candidate filing deadline); Smiley v. Holm, 285 U.S. 355, 364-366 (1932)
(congressional districting)).
25 The ballot is different from an ancillary required form like the mail-

ballot-envelope form declaration, as Pennsylvania law illustrates by
calling the ballot a “ballot,” and the declaration a “declaration.” 25 P.S.
§§ 3146.6(a), 3150.16(a).
                                    46
suggestion (at 2) that “all paper-based requirements for voting by mail”

are at stake is simply false.

     Nor does the Materiality Provision “prohibit[]” states from

requesting even immaterial information on election-related paperwork,

contrary to GOP-Intervenors’ claim (at 17-18). Merely requesting such

information does not “deny the right of any individual to vote.” 52 U.S.C.

§ 10101(a)(2)(B). The Materiality Provision prohibits discarding voters’

ballots because of minor mistakes in responding to such requests.

     The statute as written thus presents a precise and limited

intervention by Congress into the States’ administration of elections to

prohibit a defined set of disenfranchising practices by state actors—not

any significant or unheralded alteration of the federal-state balance. 26

        3. Congress’s Authority to Enact the Materiality
           Provision Is Beyond Doubt

     GOP-Intervenors’ invocation (at 35-40) of constitutional avoidance

is meritless. There is nothing to avoid.



26 GOP-Intervenors’ “clear statement” cases—stay opinions involving
emergency extensions of federal agency authority in response to the
COVID-19 pandemic—are inapposite. GOP Br. 34-35 (citing NFIB v.
OSHA, 595 U.S. 109 (2022) and Alabama Ass’n of Realtors v. HHS, 141
S. Ct. 2485 (2021)).

                                    47
      To start, GOP-Intervenors wrongly suggest (at 37) that the

Reconstruction Amendments were the only source of authority for the

Materiality Provision. When Congress enacted the Materiality Provision

in 1964, it relied largely (although not exclusively) on the Elections

Clause’s delegation of “broad authority to Congress to control the

substantive and not merely the mechanical aspects of elections.” See,

e.g., H.R. Rep. No. 88-914 (1963), reprinted 1964 U.S.C.C.A.N. 2391, 2492

(Rep. McCulloch). Indeed, as enacted in 1964, the Materiality Provision

applied only to federal elections; Congress then expanded it with the 1965

Voting Rights Act to encompass state elections as well. See Pub. L. No.

88-352, § 101, 78 Stat. 241, 241 (1964); Pub. L. 89-110, § 15(a), 79 Stat.

437, 444 (1965). 27

      The Elections Clause provides that “[t]he Times, Places and

Manner of holding” federal elections “shall be prescribed in each State by

the Legislature thereof; but the Congress may at any time by Law make

or alter such Regulations.” U.S. Const. art. I, § 4, cl. 1. Congress’s




27 See also, e.g., Civil Rights Act of 1964: Hearings on H.R. 7152, 88th

Cong. 2653-2654 (1963) (Oct. 15, 1963 Stmt. of AG Kennedy) (discussing
limitation of the 1964 Act to federal elections).

                                   48
“comprehensive” power to regulate federal elections pursuant to the

Elections Clause “‘is paramount, and may be exercised at any time, and

to any extent which it deems expedient.’” Arizona v. Inter Tribal Council

of Ariz., Inc., 570 U.S. 1, 8-9 (2013) (quoting Ex parte Siebold, 100 U.S.

371, 392 (1880)).

     The Elections Clause on its own supplies sufficient authority for

Congress to prohibit disenfranchisement of voters for immaterial

paperwork mistakes in elections where federal candidates are on the

ballot. Id. at 8-9. That includes the 2022 election which gave rise to this

lawsuit, and the upcoming 2024 election on which GOP-Intervenors

premise their continued standing on appeal. See GOP Br. 60, 61. For

present purposes, that ends the discussion on the avoidance canon.

     And Congress also had authority to enact the Materiality Provision

under the Reconstruction Amendments. Those Amendments authorize

Congress specifically to enact prophylactic legislation to protect the right

to vote. E.g., Nev. Dep’t of Human Res. v. Hibbs, 538 U.S. 721, 727-28

(2003). Indeed, the voting rights measures in the 1964 Civil Rights Act

and 1965 Voting Rights Act, which include the Materiality Provision, are

paradigmatic examples of valid remedial legislation, as the Supreme


                                    49
Court explained in City of Boerne v. Flores. 521 U.S. 507, 518 (1997)

(noting the validity of Congress’s “suspension of literacy tests and similar

voting requirements” as well as “other measures protecting voting rights”

and collecting cases); see also, e.g., Hibbs, 538 U.S. at 738 (VRA was a

“valid exercise[] of Congress’ § 5 power”); Bd. of Trs. of the Univ. of Ala.

v. Garrett, 531 U.S. 356, 373 (2001) (similar).

     GOP-Intervenors’ crabbed rendition of a City of Boerne “congruence

and proportionality” analysis (at 36-38) is not what the law requires. 521

U.S. at 519. And their suggestion (at 38) that Congress was unconcerned

with ensuring the franchise for Black Americans “outside the registration

process” (GOP Br. 38) is nonsensical. Congress in 1964 and 1965 sought

to ensure the right to vote, not just to register—and it had a massive

record before it that States and localities persistently used facially

neutral rules like immaterial paperwork requirements to exclude Black

Americans. E.g., supra 37-38. Congress’s remedy accordingly targeted

that mechanism. “[P]rohibit[ing] those acting under color of law from

using immaterial omissions, which were historically used to prevent

racial minorities from voting, from blocking any individual’s ability to




                                    50
vote … is a congruent and proportional exercise of congressional power.”

Vote.Org, 2023 WL 8664636, at *19; see Boerne, 521 U.S. at 519-520. 28

      GOP-Intervenors do not really contest this. Rather, they again

attack (at 38-39) a fictitious statute that they claim would prohibit all

manner of state laws aimed at “preventing fraud or ensuring ballots are

timely cast.”   The Materiality Provision is much more modest in its

sweep.     But it does apply here—and it flatly prohibits the

disenfranchisement of thousands of Pennsylvania voters for a “wholly

irrelevant” paperwork error. App.79.

II.   THE  MATERIALITY               PROVISION         IS     PRIVATELY
      ENFORCEABLE

      GOP-Intervenors’ private-right-of-action argument (at 49-53) fails

here just as it did in Migliori and in the Fifth Circuit. See Vote.Org., 2023

WL 8664636, at *6-10; Migliori, 36 F.4th at 159-162; accord Schwier, 340

F.3d at 1294-1297.




28 GOP-Intervenors’ suggestion that the Materiality Provision might be

limited only to racially-motivated disenfranchisement (at 39-40) rests
primarily on the superseded Vote.Org stay opinion, whose views on this
point the merits panel rejected. Vote.Org, 2023 WL 8664636, at *19.
Migliori correctly rejected it too, as inconsistent with the race-neutral
statutory text. 36 F.4th at 162 n.56.

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      Plaintiffs brought this action pursuant to 42 U.S.C. § 1983, which

provides an enforceable remedy for the deprivation of any right “secured

by the Constitution and laws.” Id.; see Supp.App.3, 5, 33. Where a

plaintiff demonstrates that Congress “intended to create a federal right,”

“the right is presumptively enforceable by § 1983.” Gonzaga, 536 U.S. at

283-284 (emphasis omitted); accord Health & Hosp. Corp. of Marion

Cnty. v. Talevski, 599 U.S. 166, 183-184 (2023).

      Once established, this presumption is rarely overcome.         E.g.,

Migliori, 36 F.4th at 159-160 n.31 (citing Livadas v. Bradshaw, 512 U.S.

107, 133 (1994)).    To do so, a defendant must show that Congress

implicitly foreclosed Section 1983 relief by creating an incompatible

private remedy scheme. E.g., Gonzaga, 536 U.S. at 284-285 n.4. The

presence of a parallel public remedy (i.e., government enforcement) is

insufficient.   Rather, “a more restrictive private remedy” is required

because restrictions on private remedies (such as special filing or

exhaustion requirements, or limits on damages) are inconsistent with the

relief available under Section 1983.     Fitzgerald v. Barnstable Sch.

Comm., 555 U.S. 246, 254, 256 (2009) (emphasis added). “‘The crucial

consideration’ is whether ‘Congress intended a statute’s remedial scheme


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to be the exclusive avenue through which a plaintiff may assert [his]

claims.’” Talevski, 599 U.S. at 187 (citation omitted).

     GOP-Intervenors do not contest that Congress intended to create a

federal right. Nor could they, given the Materiality Provision’s crystal-

clear language guaranteeing “the right of any individual to vote in any

election.” 52 U.S.C. § 10101(a)(2)(B). Indeed, the Materiality Provision’s

mandatory language (i.e., “No person … shall deny”), and clear focus on

individual rights (i.e., “the right of any individual to vote”) is “clearly

analogous to the right-creating language cited … in Gonzaga.” Schwier,

340 F.3d at 1296; see Gonzaga, 536 U.S. at 284 & n.3.

     Nor can they rebut the resulting presumption of enforceability.

There is no narrower private remedy scheme in the statute. See, e.g.,

Vote.Org., 2023 WL 8664636, at *6-10. Compare City of Rancho Palos

Verdes v. Abrams, 544 U.S. 113, 121 (2005). 29 To the contrary, subsection

10101(d) specifically contemplates federal court “proceedings pursuant to



29 Thus, in Rancho Palos Verdes, and, unlike here, Congress expressly

provided for a narrow set of private remedies in the Telecommunications
Act—including injunctive relief but not damages as with Section 1983.
544 U.S. at 122-124. By expressly providing for a narrower private
remedy, Congress had indicated it “did not intend to leave open a more
expansive remedy under §1983.” Id. at 121.
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this section” brought by a “party aggrieved” (e.g., a disenfranchised voter)

and specifically precludes the imposition of exhaustion requirements that

might otherwise constrain full-fledged Section 1983 actions. 52 U.S.C.

§ 10101(d); see Migliori, 36 F.4th at 160. The statutory history makes

Congress’s intentions plain: The provisions in Section 10101(d) were

added in 1957 specifically to preserve a longstanding right to enforce

Section 10101’s predecessor statute via Section 1983, notwithstanding

the addition of parallel Attorney General enforcement power, and to

abrogate exhaustion requirements that had been recently imposed on

private litigants by federal courts. 30 See H.R. Rep. No. 85-291 (1957),



30 Section 10101 (formerly 42 U.S.C. § 1971) was originally part of the

Reconstruction-Era civil rights laws, which included a provision virtually
identical to current Section 10101(a)(1). See Act of May 31, 1870, ch. 114,
16 Stat. 140, 140-42 (1870). Those laws were always enforced by private
parties under Section 1983. See Schwier, 340 F.3d at 1295. Such private
actions included, for example, Smith v. Allwright, 321 U.S. 649 (1944), in
which the Supreme Court struck down white primary laws. Id. at 658;
see also, e.g., Chapman v. King, 154 F.2d 460, 464 (5th Cir. 1946); Rice v.
Elmore, 165 F.2d 387, 392 (4th Cir. 1947).

      In 1957, present-day Section 10101 took shape. Congress codified
the original statute from the 1870 Act in what is now subsection 10101(a),
added new voting protections and new public enforcement authority, and
confirmed federal jurisdiction over actions “pursuant to this section” by a
“party aggrieved.” See 52 U.S.C. § 10101(c), (d); Pub. L. No. 85-315, §
131, 71 Stat. 637 (1957). In 1964, it added the Materiality Provision,

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reprinted 1957 U.S.C.C.A.N. 1966, 1975-1977. The Attorney General,

whose office drafted the 1957 Act, expressly assured Congress that,

notwithstanding new governmental enforcement, “private people will

retain the right they have now to sue in their own name” to enforce the

rights contained in Section 10101. See Civil Rights Act of 1957: Hearings

on S. 83, 85th Cong. 67-73 (1957) (Feb. 15 Stmt. of AG Brownell).

     GOP-Intervenors’ reliance (at 51-52) on the Attorney General’s

parallel public remedy scheme is misplaced. In particular, subsection

10101(c), added as part of the 1957 Act, provided the Attorney General

with new enforcement power, and subsections 10101(e) and 10101(g)

then set forth special remedies and procedures available in Attorney

General actions. Under this parallel public remedy scheme, the Attorney

General may bring a specialized pattern-or-practice claim, and if it

succeeds, federal courts and voting referees working with them then

supplant recalcitrant local election officials, essentially taking over the




alongside the original provision from the 1870 Act. Pub. L. No. 88-352,
§ 101, 78 Stat. 241 (1964). Congress thus constructed Section 10101 with
a longstanding, privately-enforced voting rights guarantee as its
keystone. E.g., Russello, 464 U.S. at 23 (statutory “evolution” informs
meaning).

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workings of the election system. 52 U.S.C. § 10101(e). GOP-Intervenors

wrongly characterize this as a private remedy scheme because voters

may make an “application” for a summary determination of their

qualification once federal superintendents have been put in place

(basically, re-registering to vote under the new system). Id. But that is

not a private remedy scheme; it is just one aspect of a systemic public

remedy, available only to the Attorney General. Id.

     The text confirms the point. The takeover remedy scheme to which

GOP-Intervenors allude is available only in a “proceeding instituted

pursuant to subsection (c),” i.e., one brought by the Attorney General. 52

U.S.C. § 10101(e); see also id. § 10101(g) (setting forth procedures for

“proceeding[s] instituted by the United States,” including pattern-or-

practice cases). If Congress had intended such proceedings to be the only

means of enforcing the statute, it could have referred simply to

proceedings “pursuant to this section.” It did not. Instead, it used that

broader language in subsection 10101(d), to describe the “proceedings

pursuant to this section” (i.e., including pursuant to the Materiality

Provision in subsection 10101(a)) that can be brought by a private “party

aggrieved.” Id.


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     This textual distinction was intentional and consistent with

Congress’s stated aim of preserving longstanding private enforcement via

Section 1983 while “supplementing existing law” with powerful new

public remedies.      H.R. Rep. No. 85-291 (1957), reprinted 1957

U.S.C.C.A.N. 1966, 1976-1977. 31 Congress plainly meant the systemic

remedies available in Attorney General actions “to coexist with an

alternative remedy available in a § 1983 action.” Fitzgerald, 555 U.S. at

252 (citation and quotations omitted); accord Talevski, 599 U.S. at 187. 32


31 Schweier, Migliori, and Vote.Org each applied Gonzaga and arrived at

the same conclusion regarding the Materiality Provision’s enforceability.
In contrast, the Sixth Circuit reached a contrary conclusion in a case
decided prior to Gonzaga, McKay v. Thompson, 226 F.3d 752 (6th Cir.
2000). The court reasoned in a single sentence that the Materiality
Provision “is enforceable by the Attorney General, not by private
citizens.” Id. at 756. Another Sixth Circuit opinion, on which GOP-
Intervenors now rely (at 50, 53) reaffirmed that conclusion only because
the earlier McKay decision “binds this panel.” Northeast Ohio Coalition
for the Homeless v. Husted, 837 F.3d 612, 629-30 (6th Cir. 2016), cert.
denied, 137 S. Ct. 2265 (2017).
32 GOP-Intervenors separately argue (at 49-51) that plaintiffs do not have

an implied private right of action under Alexander v. Sandoval, 532 U.S.
275, 286 (2001). But Sandoval is irrelevant; whether a statutory
violation may be enforced via Section 1983 “is a different inquiry.”
Gonzaga, 536 U.S. at 283-284; see also Migliori, 36 F.4th at 159, 161. Nor
would it matter if Sandoval’s implied-right-of-action test did apply
because, as discussed, the statutory text and the legislative history
demonstrate that Congress expressly contemplated private enforcement
of the rights guaranteed in Section 10101. See supra 53-57.

                                    57
III.   ALL CLAIMS WITH RESPECT TO THE RESULTS OF THE
       2023 ELECTIONS ARE MOOT

       GOP-Intervenors’ various arguments regarding the 2023 election

all fail for the simple reason that the 2023 election is over.

       For Intervenor Marino, that means dismissal for lack of

jurisdiction. Nothing this Court is asked to decide here could result in

“Marino properly being certified as the winner.” GOP Br. 67. Marino’s

own strategic decision not to timely challenge Montgomery County’s

counting of the excluded Towamencin mail ballots fatally undermined his

prospects in state court, as multiple written state court opinions held.

Supp.App.957-960, 961-985. Any controversy surrounding his election

certainly died by January 2, when his opponent was sworn into office.

       Because the election is over, Marino no longer has any path to relief,

no matter what happens in this appeal. See Ioannidis v. Wolf, 635 M.D.

2020 (Pa. Commw. 2021) (candidate appeal became moot upon opponent’s

taking office) (unpublished), aff’d, 270 A.3d 1110 (Pa. 2022). Marino is

just like the losing candidate in Migliori whose claims became moot after

the ballots were opened and counted and the election concluded. See

Ritter, 143 S. Ct. at 298 (granting vacatur on mootness grounds); see also

Pet. for Writ of Cert., Ritter v. Migliori, No. 22-30, 2022 WL 2704768, at

                                     58
*14 (U.S. July 7, 2022) (“The case became moot when the new election

results were certified over Ritter’s rigorous defense of the original

results.”). At this point, Marino’s protectable interest in this appeal is no

different than that of any other Pennsylvania voter—which is to say, he

has none. See Bognet v. Sec’y of Pa., 980 F.3d 336, 354-357 (3d Cir. 2020)

(individual voters’ complaints about “counting ballots in violation of state

election law” are not concrete, cognizable harms), vacated as moot, 141 S.

Ct. 2508 (Mem.) (2021). Marino should be dismissed. 33

     While Plaintiffs do not accept GOP-Intervenors’ various purported

injuries (at 60-66), Plaintiffs do not dispute that GOP-Intervenors have

standing to prosecute an appeal challenging the district court’s order,

which grants prospective relief that would apply in 2024 and beyond. But

for the same reason as Marino, GOP-Intervenors do not have any

redressable injury or claim stemming from the certified-and-done 2023




33  GOP-Intervenors claim (at 64) that the envelope-date issue has
“flipped” three elections since 2020. “Flipped” is odd way to describe the
candidate who receives more timely votes from qualified voters winning
an election. Nor is it clear what this third election is beyond the
Towamencin contest and the one in Migliori. Either way, the number is
miniscule compared to the thousands of offices on the ballot since 2020.

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municipal election.     Their invocation of Purcell (at 57-59) changes

nothing.

      For one, Purcell applies where an appellate court has been asked to

stay a “lower federal court injunction[]” due it its proximity to an election,

Merrill v. Milligan, 142 S. Ct. 879, 880-881 (2022) (Kavanaugh, J.,

concurring); it provides no basis to collaterally attack an election result

or seek substantive relief in a merits appeal.         For another, Purcell

protects the “State’s extraordinarily strong interest in avoiding ...

changes to its election laws and procedures.”         Id. at 881 (emphasis

added). But private, partisan actors like GOP-Intervenors are not

election administrators, and “lack a cognizable interest in the State’s

ability to ‘enforce its duly enacted’ laws.” RNC v. Common Cause R.I.,

141 S. Ct. 206, 206 (Mem.) (2022) (quoting Abbott v. Perez, 138 S. Ct.

2305, 2324 n.17 (2018)). For a third, Purcell-type considerations would

not help GOP-Intervenors here.         For instance, the “feasib[ility]” of

counting timely-received mail ballots notwithstanding the immaterial

envelope-date issue “without significant cost, confusion, or hardship,”

Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring), is self-




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evident: Counties have already opened and counted the ballots, and the

elections have already been certified.

      At this point, GOP-Intervenors, who threw the law into disarray on

the eve of the 2022 election by initiating the Ball litigation, are

unironically invoking a supposed maxim against federal judges issuing

rulings “on the back end of elections” in order to—wait for it—press for a

federal judicial ruling on the back end of an election. Trump v. Wis.

Elections Comm’n, 983 F.3d 919, 925-926 (7th Cir. 2020) (rejecting

challenges raised after “election results ha[d] been certified as final”).

Whatever equitable criticisms GOP-Intervenors might have once had

about the timing of the district court’s decision, they are now moot

because the 2023 election is over. This appeal must be resolved, and

GOP-Intervenors’ arguments must be rejected, on the merits.

IV.   THE DISTRICT COURT’S                 ORDER       CREATES        NO
      DISUNIFORMITY PROBLEM

      GOP-Intervenors’    Equal    Protection   arguments     (at   54-57)

fundamentally misunderstand both the effect of the district court’s order

and the teachings of Bush v. Gore. The district court’s order does not

require that any county afford differential treatment to anyone. Rather,

it provides a clear statement of federal law that all counties can and

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should follow, whether or not they were dismissed below on standing

grounds.

     Bush v. Gore held that “the absence of specific standards” in the

“recount mechanisms implemented in response to the decisions of the

Florida Supreme Court” failed to “satisfy the minimum requirement for

nonarbitrary treatment of voters” under the Equal Protection Clause.

531 U.S. 98, 105-106 (2000). The district court’s decision does not suffer

from any absence of specific standards that would lead to arbitrary

treatment.   Rather, it declares that disenfranchising voters for a

meaningless paperwork error with respect to the mail-ballot-envelope

date violates federal law. Implementing that decision is straightforward:

Count voters’ mail ballots notwithstanding the meaningless paperwork

mistake.

     The invocation of Bush v. Gore is especially misguided on this

record, which demonstrates that thousands of voters were subjected to

arbitrary treatment due to the counties’ inconsistent enforcement of the

envelope-date requirement. See supra 12-13. Returning to the disarray

that prevailed in 2022 would not promote the “nonarbitrary treatment of

voters.” Bush, 531 U.S. at 105-106. Affirming the district court would.


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     GOP-Intervenors are left arguing that the district court did

something “even worse” than (read: entirely different from) Bush v. Gore.

They argue that the district court’s decision “gives specific guidance that

compels application of different standards to similarly situated ballots in

different   counties.”    GOP    Br.   56   (emphasis   omitted).     That

mischaracterizes reality. 34

     The district court entered a declaration that the practice of

disenfranchising voters based on the envelope-date rule violated federal

law. App.6. Even if the judgment in this case formally binds only 12

counties, all counties can and should comply with it because it is a federal

court’s reasoned and correct statement of what federal law requires.

     Dismissed counties are in no way prohibited from such compliance

by the Pennsylvania Supreme Court’s order in Ball v. Chapman, which

holds only that state law requires voters to be disenfranchised for

immaterial errors or omissions regarding the handwritten envelope date.



34 Unrelatedly but wrongly, GOP-Intervenors also suggest (at 64-65) that

counting the votes of qualified voters of all parties notwithstanding
immaterial envelope-date errors somehow harms “their voters.” But
voters whose ballots have been counted have no cognizable interest in
preventing the counting of other peoples’ votes. See, e.g., Bognet, 980
F.3d at 354-57.
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289 A.3d at 28 (opinion announcing the judgment). The court, ruling on

GOP-Intervenors’ election-eve King’s Bench petition, and with no lower

court decision to affirm or reverse, expressly declined to address the

application of the Materiality Provision, leaving it “unresolved.” Id. at

34-35 (Dougherty, J., concurring in part); id. at 36 (Brobson, J.,

dissenting) (court left federal law question “unanswered”). The district

court’s decision here is thus the only operative statement of federal law

in Pennsylvania on the question whether voters can be disenfranchised

on this basis. Counties should follow it. See U.S. Const. art VI, § 2.

     Indeed, we know that the Ball order has not mandated a different

result for the 55 dismissed counties because many of them have already

complied with the district court’s declaration. See, e.g., Supp.App.952-

956. Dozens more will be bound to do so in future elections by the

stipulation they executed “agree[ing] to not contest . . . the declaratory

and injunctive relief requested by Plaintiffs in this action.” Supp.App.40;

Supp.App.54. In all, two-thirds of Pennsylvania’s counties are already

either formally bound, or subject to the stipulation. The speculation that

a few of the remaining group might voluntarily choose to ignore federal




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law (and risk winding up right back in court) does not create an Equal

Protection problem.

     In all events, this Court’s decision will conclusively resolve any

possible concern about disuniformity. After the Court affirms on the

merits, any county that continues to illegally deny the right to vote by

discarding timely-submitted mail ballots due to the immaterial

handwritten envelope date will have the Materiality Provision enforced

against them in federal court with the backing of binding circuit

precedent. This Court should do so now and ensure, once and for all, that

Pennsylvania   voters   are    no   longer   arbitrarily   and   unlawfully

disenfranchised for a meaningless paperwork error.

                              CONCLUSION

     This Court should affirm the judgment of the district court.




                                    65
Dated: January 10, 2024           Respectfully submitted,

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                                 66
                   COMBINED CERTIFICATIONS

     At least one of the attorneys whose name appears on this brief is a

member of the bar of this Court, or has filed an application for admission

pursuant to L.A.R. 46.1.

     This brief complies with the word limit of Fed. R. App. P.

32(a)(7)(B)(i) because, excluding the parts of the document exempted by

Fed. R. App. P. 32(f), this document contains 13,000 words.

     The text of this electronic brief is identical to the text in paper

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     A virus detection program, Microsoft Word from the Microsoft

Office Professional Plus 2010 suite, has been run on this electronic brief

and no virus was detected.

Dated: January 10, 2024               Respectfully submitted,

                                      /s/ Ari J. Savitzky
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                    CERTIFICATE OF SERVICE

     I herby certify that on January 10, 2024, I caused a true and correct

copy of the foregoing Brief in Opposition, together with all documents in

support thereof, via the Court’s ECF/CMF system.

Dated: January 10, 2024             Respectfully submitted,

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